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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTER DISTRICT OF PENNSYLVANIA

 CLAUDETTE MARSHALL-MCCLURE, :            CIVIL ACTION -LAW
            Plaintiff               :
                                    :
                                    :
            v.                      :     No. 2:23-cv 00477
                                    :
WALMART, INC.; WAL-MART REAL :
ESTATE BUSINESS TRUST;              :
WAL-MART STORES EAST, LP;           :
WAL-MART STORES EAST, INC.;         :
DLC MANAGEMENT CORP;                :
DLC MANAGEMENT GROUP, INC.;         :
GREGORY GERTH;                      :
ABC CORPORATION(S) 1-10; and        :
JOHN/JANE DOE(S) 1-13,              :     JURY TRIAL DEMANDED
            Defendants              :
______________________________________________________________________________

  DEFENDANT DLC MANAGENT CORP.’S ANSWER, AFFIRMATIVE DEFENSES
                 CROSS-CLAIMS AND JURY DEMAND

       Answering Defendant, DLC Management Corp. (hereinafter, “Answering Defendant”),

by and through its attorneys, Staff Counsel Office of the Cincinnati Insurance Company, hereby

responds to Plaintiff’s Complaint as follows:

       1.      Denied. Answering Defendant, after reasonable investigation, presently lacks

sufficient knowledge and/or information to admit or deny this averment. Strict proof thereof is

demanded at trial, if material.

       2.      Denied. The allegations of this paragraph are directed to a party other than the

Answering Defendant and therefore no response is required. To the extent a responsive pleading

is deemed required, after reasonable investigation, Answering Defendant presently lacks

sufficient knowledge and/or information to admit or deny this averment. Strict proof thereof is

demanded at trial, if material.
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        2.[sic] Denied. The allegations of this paragraph are directed to a party other than the

 Answering Defendant and therefore no response is required. To the extent a responsive

 pleading is deemed required, after reasonable investigation, Answering Defendant presently

 lacks sufficient knowledge and/or information to admit or deny this averment. Strict proof

 thereof is demanded at trial, if material.

        3.       The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        4.       The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        5.       Admit in part. Admit that DLC Management Corp. is a duly organized New York

corporation with offices at 565 Taxter Road, Elmsford, New York which conducts business

within the Commonwealth of Pennsylvania. The remainder of the averments are denied as

stated. Upon information and belief, ice and snow treatment and removal services at Levittown

Town Center in Levittown, Pennsylvania were performed by BrightView Landscapes, LLC.

        6.       The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient



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knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        7.       The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        8.       The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material. Upon information and belief, ice and snow treatment and removal services at

Levittown Town Center in Levittown, Pennsylvania were performed by BrightView Landscapes,

LLC.

        9.       a) The allegations of this paragraph are directed to a party other than the

Answering Defendant and therefore no response is required. To the extent a responsive pleading

is deemed required, after reasonable investigation, Answering Defendant presently lacks

sufficient knowledge and/or information to admit or deny this averment. Strict proof thereof is

demanded at trial, if material.

                  b) The allegations of this paragraph are directed to a party other than the

 Answering Defendant and therefore no response is required. To the extent a responsive

 pleading is deemed required, after reasonable investigation, Answering Defendant presently




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 lacks sufficient knowledge and/or information to admit or deny this averment. Strict proof

 thereof is demanded at trial, if material.

       10.     Denied as a conclusion of law to which no responsive pleading is required. To the

extent that the allegations are not deemed conclusions of law, Answering Defendant presently

lacks sufficient knowledge and/or information to admit or deny this averment. Strict proof

thereof is demanded at trial, if material.

       11.     Denied as a conclusion of law to which no responsive pleading is required. To the

extent that the allegations are not deemed conclusions of law, Answering Defendant presently

lacks sufficient knowledge and/or information to admit or deny this averment. Strict proof

thereof is demanded at trial, if material.

       12.     Denied as a conclusion of law to which no responsive pleading is required. To the

extent that the allegations are not deemed conclusions of law, Answering Defendant presently

lacks sufficient knowledge and/or information to admit or deny this averment. Strict proof

thereof is demanded at trial, if material.

       13.     Denied. It is specifically denied that a dangerous, unsafe, slippery and/or

defective condition existed. The remaining averments are denied as a conclusion of law to which

no responsive pleading is required. By way of further response, Answering Defendant is without

knowledge of where, specifically, Plaintiff alleges she fell. To the extent that the allegations are

not deemed conclusions of law, denied. Strict proof thereof is demanded at trial, if material.

       14.     Denied. It is specifically denied that Answering Defendant was negligent, or that

a dangerous, unsafe, slippery and/or defective condition existed for a period of time sufficient for

Answering Defendant to have known, or should have known, of it, given warnings of it, and/or

cured or corrected it. The remaining averments are denied as a conclusion of law to which no



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responsive pleading is required. By way of further response, Answering Defendant is without

knowledge of where, specifically, Plaintiff alleges she fell. To the extent that the allegations are

not deemed conclusions of law, denied. Strict proof thereof is demanded at trial, if material.

        15.     Denied. It is specifically denied that a dangerous, unsafe, slippery and/or

defective condition existed for a sufficient period that Answering Defendant knew or should

have known of it, or failed to maintain, supervise, inspect, operate, possess and/or control any

premises, or failed to correct, or warn about any dangerous unsafe and/or defective condition.

The remaining averments are denied as a conclusion of law to which no responsive pleading is

required. To the extent that the allegations are not deemed conclusions of law, denied. By way of

further response, Answering Defendant is without knowledge of where, specifically, Plaintiff

alleges she fell. Strict proof thereof is demanded at trial, if material.

        16.     Denied. It is specifically denied that a dangerous and/or unsafe condition existed

or that Answering Defendant was negligent. The remaining averments are denied as a

conclusion of law to which no responsive pleading is required. To the extent that the allegations

are not deemed conclusions of law, denied. By way of further response, Answering Defendant is

without knowledge of where, specifically, Plaintiff alleges she fell. Strict proof thereof is

demanded at trial, if material.

        17.     Denied. It is specifically denied that Answering Defendant was negligent. The

remaining averments are denied as a conclusion of law to which no responsive pleading is

required. To the extent that the allegations are not deemed conclusions of law, denied. By way of

further response, Answering Defendant is without knowledge of where, specifically, Plaintiff

alleges she fell. Strict proof thereof is demanded at trial, if material.




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        18.     Denied. It is specifically denied that a dangerous, unsafe or defective condition

existed or that Answering Defendant was negligent. The remaining averments are denied as a

conclusion of law to which no responsive pleading is required. To the extent that the allegations

are not deemed conclusions of law, denied. By way of further response, Answering Defendant is

without knowledge of where, specifically, Plaintiff alleges she fell. Strict proof thereof is

demanded at trial, if material.

        19.     Denied. It is specifically denied that a dangerous and/or unsafe condition existed

or that Answering Defendant created such condition or knew, or should have known of, such

condition. The remaining averments are denied as a conclusion of law to which no responsive

pleading is required. To the extent that the allegations are not deemed conclusions of law,

denied. By way of further response, Answering Defendant is without knowledge of where,

specifically, Plaintiff alleges she fell. Strict proof thereof is demanded at trial, if material.

        20.     Denied. It is specifically denied that Answering Defendant was negligent. The

remaining averments are denied as a conclusion of law to which no responsive pleading is

required. To the extent that the allegations are not deemed conclusions of law, denied; after

reasonable investigation, Answering Defendant presently lacks sufficient knowledge and/or

information to admit or deny the remaining averments. Strict proof thereof is demanded at trial,

if material.

               COUNT I- CLAUDETTE MARSHALL-MCCLURE V. ALL DEFENDANTS

        21.     Answering Defendant hereby incorporates by references the responses contained

in the foregoing paragraphs as if fully set forth at length herein.

        22.     Denied. It is specifically denied that Answering Defendant was negligent. The

remaining averments are denied as a conclusion of law to which no responsive pleading is



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required. To the extent that the allegations are not deemed conclusions of law, denied; after

reasonable investigation, Answering Defendant presently lacks sufficient knowledge and/or

information to admit or deny the remaining averments. Strict proof thereof is demanded at trial,

if material.

        23.     Denied as a conclusion of law to which no responsive pleading is required. To the

extent that the allegations are not deemed conclusions of law, Answering Defendant presently

lacks sufficient knowledge and/or information to admit or deny this averment. Strict proof

thereof is demanded at trial, if material.

        24.     Denied. It is specifically denied that Answering Defendant was negligent or that

a dangerous/unsafe/ icy/slippery/snowy condition existed. The remaining averments are denied

as a conclusion of law to which no responsive pleading is required. To the extent that the

allegations are not deemed conclusions of law, denied. Strict proof thereof is demanded at trial,

if material.

        25.     Denied. It is specifically denied that Answering Defendant was negligent. As to

the remaining averments, denied; after reasonable investigation, Answering Defendant presently

lacks sufficient knowledge and/or information to admit or deny the remaining averments. Strict

proof thereof is demanded at trial, if material.

        WHEREFORE, Answering Defendant demands that Plaintiff’s Complaint be dismissed

 with prejudice and that judgment be entered in favor of Answering Defendant and for such

 other and further relief as the Court deems just and proper.

               COUNT II- CLAUDETTE MARSHALL-MCCLURE V. GREGORY GERTH

        26.     Answering Defendant hereby incorporates by references the responses contained

in the foregoing paragraphs as if fully set forth at length herein.



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        27.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        28.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        29.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        WHEREFORE, Answering Defendant demands that Plaintiff’s Complaint be dismissed

 with prejudice and that judgment be entered in favor of Answering Defendant and for such

 other and further relief as the Court deems just and proper.

              COUNT III- CLAUDETTE MARSHALL-MCCLURE V. GREGORY GERTH

        30.      Answering Defendant hereby incorporates by references the responses contained

in the foregoing paragraphs as if fully set forth at length herein.

        31.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed



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required, denied as a conclusion of law to which no responsive pleading is required. Strict proof

thereof is demanded at trial, if material.

        32.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        33.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        34.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        35.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.




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        36.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        37.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        38.      The allegations of this paragraph are directed to a party other than the Answering

Defendant and therefore no response is required. To the extent a responsive pleading is deemed

required, after reasonable investigation, Answering Defendant presently lacks sufficient

knowledge and/or information to admit or deny this averment. Strict proof thereof is demanded

at trial, if material.

        WHEREFORE, Answering Defendant demands that Plaintiff’s Complaint be dismissed

 with prejudice and that judgment be entered in favor of Answering Defendant and for such

 other and further relief as the Court deems just and proper.

                                   AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

        Plaintiff fails to state a cause of action upon which relief can be granted.

                              SECOND AFFIRMATIVE DEFENSE

        Plaintiff’s cause of action is barred by the applicable Statute of Limitations.



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                              THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s injuries were caused in whole or in part by individuals and/or entities which

the Answering Defendant had no control over, and/or right to control.

                             FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s cause of action is barred and/or limited by her own comparative negligence

and/or conduct, which negligence exceeded any negligence of the Answering Defendant, all

negligence of the Answering Defendant being expressly denied and, therefore, pursuant to the

Pennsylvania Comparative Negligence Act, Plaintiff’s claims are barred.

                               FIFTH AFFIRMATIVE DEFENSE

       Answering defendant believes and, therefore, avers that if Plaintiff sustained the injuries

and damages as alleged in Plaintiffs Complaint, said injuries and/or damages were not the result

of any act or failure to act on the part of the Answering Defendant, all such allegations being

expressly denied by the answering defendant and Plaintiff’s action is, therefore, barred.

                               SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s cause of action is barred and/or limited by the Doctrine of Assumption of Risk.

                            SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s injuries were not caused by the conduct alleged in the Plaintiff’s Complaint.

                             EIGHTH AFFIRMATIVE DEFENSE

       Answering Defendant had no actual or constructive notice of the alleged condition as set

forth in the Plaintiff’s Complaint.

                              NINTH AFFIRMATIVE DEFENSE

       Answering Defendant owed no duty to the Plaintiff, nor did Answering Defendant stand

within a special relationship with Plaintiff.



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                              TENTH AFFIRMATIVE DEFENSE

       Plaintiff was a trespasser at the time of the incident.

                            ELEVENTH AFFIRMATIVE DEFENSE

       Answering Defendant is not the insurer for the safety of the Plaintiff.

                            TWELVTH AFFIRMATIVE DEFENSE

       Pursuant to F.R.C.P. 8 and Pa. R.C.P. 1030, answering defendant hereby pleads the

defenses listed in F.R.C.P. 8(c)(1) and Pa.R.C.P. 1030(a) as affirmative defenses and incorporate

them as if stated more fully herein including, but not limited to, the affirmative defenses of

assumption of the risk; contributory/comparative negligence; fraud; payment release; res

judicata; statute of limitations and immunity from suit.

       WHEREFORE, Defendant DLC Management Corp. demands judgment in its favor and

against the Plaintiff, along with costs of said action.

                                          CROSS-CLAIM

  DEFENDANT DLC MANAGEMENT CORP. V. DEFENDANTS WALMART, INC.,
  WAL-MART REAL ESTATE BUSINESS TRUST, WAL-MART STORES EAST L.P.,
   WAL-MART STORES EAST INC. AND GREGORY GERTH, JOHN DOES 1-16

                                COUNT I - INDEMNIFICATION

       1.      For the purposes of this crossclaim only, Defendant DLC Management Corp.

incorporates by reference, but does not adopt, the allegations set forth in Plaintiff’s Complaint, as

though the same were set forth at length herein.

       2.      Pursuant to F.R.C.P. 13(g), if the averments of Plaintiff’s Complaint are

established at trial, all liability the part of Defendant DLC Management Corp. being denied, it is

averred that Plaintiff’s alleged injuries were caused solely by the carelessness and negligence of

all other Defendants.      In the alternative, if liability is imposed upon Defendant DLC



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Management Corp., it is averred that Co-Defendants are liable over to Defendant DLC

Management Corp. on the causes of action declared upon by Plaintiff, or jointly or severally

liable thereon, or liable over to Defendant DLC Management Corp. on the causes of action.

       3.      If the Plaintiff is able to recover damages based upon the allegations stated within

her Complaint, even though Answering Defendant denies each and every allegation stated within

Plaintiff’s Complaint, then Answering Defendant is entitled to be indemnified by Co-

Defendants.

       4.      If Plaintiff’s allegations are proven to be true, even though Answering Defendant

denies each and every said allegation, then Answering Defendant is entitled to all attorneys' fees

and costs, as well as indemnification for any and all damages incurred by the Answering

Defendant as a result of the Plaintiff’s lawsuit.

       WHEREFORE, Defendant DLC Management Corp. demands judgment in its favor and

against the Plaintiff and Co-Defendants, along with costs of said action.

                                 COUNT II – CONTRIBUTION

       5.      Answering Defendant incorporates by reference the allegations stated within

Count I of said Cross-claim as though fully set forth at length herein.

       6.      While denying any liability for damages and injuries to Plaintiff, if Answering

Defendant should be adjudged liable to the Plaintiff, said Answering Defendant demands

contribution from any and all co-Defendants, jointly, severally, or in the alternative, and

therefore, said Answering Defendant demands contribution pursuant to the Pennsylvania

Comparative Negligence Statute, see, 42 Pa. C. S. A. §7102 et seq.




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                                      JURY DEMAND

        Defendant DLC Management Corp hereby demands a jury trial on all the issues raised in

this action.




                                     Respectfully submitted,

                                    By: ___/s/ Kevin B. Golden
                                           Attorneys for Defendant
                                           DLC Management Corp.

Date: February 20, 2023             By: ___/s/ Adrienne Chapman
                                           Attorneys for Defendant
                                           DLC Management Corp.




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                               CERTIFICATE OF SERVICE

I, ADRIENNE CHAPMAN, ESQUIRE, hereby certify that on February 20, 2023, a true

and correct copy of the foregoing was filed on the Court’s ECF system and that the system will

automatically generate and send a Notice of Electronic Filing to all users associated with the

case, which constitutes service.

                                                      Respectfully submitted,

                                                     By: ___/s/ Adrienne Chapman
                                                       Attorney      for    Defendant            DLC
                                                       Management Corp.




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